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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 CHAD HAYSE,

       Plaintiff,
 vs.                                            Case No: 17-cv-13294
                                                Hon. Linda V. Parker
 CITY OF MELVINDALE, a political                Mag. Elizabeth A. Stafford
 Subdivision of the State; MELVINDALE
 CITY COUNCIL, a legislative body of the
 City of Melvindale; NICOLE BARNES,
 WHEELER MARSEE, MICHELLE SAID
 LAND, DAVE CYBULSKI, CARL
 LOUVET, and STEVEN DENSMORE,
 individuals, sued in their official and
 personal capacities,

        Defendants.
 __________________________________________________________________
 DEBORAH GORDON LAW                     FOLEY & MANSFIELD, PLLP
 Deborah L. Gordon (P27058)             Gregory M. Meihn (P38939)
 Irina L. Vaynerman (0396759)           Melinda Balian (P55744)
 Elizabeth Marzotto Taylor (P82061)     John S. Gilliam (P81421)
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                                        (313) 381-0044
                                        lawrencejcooganlaw@yahoo.com
 __________________________________________________________________
            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
Case 4:17-cv-13294-LVP-EAS ECF No. 121 filed 10/15/18       PageID.7177    Page 2 of 34



       Plaintiff Chad Hayse, by and through his attorneys, Deborah Gordon Law,

 files this Motion for Summary Judgment, and moves this Honorable Court,

 pursuant to Rule 56 of the Federal Rules of Civil Procedure, for an Order granting

 summary judgment in his favor with respect to his claim of First Amendment

 Retaliation.

       Plaintiff also submits his Brief in support of this Motion, along with exhibits

 and deposition testimony, which are filed herewith.

       Pursuant to Local Rule 7.1, Plaintiff sought, but did not receive Defendants’

 concurrence in the relief sought.

       Respectfully submitted this 15th day of October, 2018.

 Dated: October 15, 2018                   DEBORAH GORDON LAW
                                           /s/ Elizabeth Marzotto Taylor (P82061)
                                           Deborah L. Gordon (P27058)
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 CHAD HAYSE,

       Plaintiff,
 vs.                                            Case No: 17-cv-13294
                                                Hon. Linda V. Parker
 CITY OF MELVINDALE, a political                Mag. Elizabeth A. Stafford
 Subdivision of the State; MELVINDALE
 CITY COUNCIL, a legislative body of the
 City of Melvindale; NICOLE BARNES,
 WHEELER MARSEE, MICHELLE SAID
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          PLAINTIFF’S BRIEF IN SUPPORT OF HIS MOTION FOR
                            SUMMARY JUDGMENT
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 I.    INTRODUCTION

       Plaintiff seeks summary judgment on his claim of First Amendment

 Retaliation. Dkt. # 68 at 14-17. Although it is somewhat unusual for a plaintiff to

 seek summary judgment in an employment discrimination case, Plaintiff’s claim of

 First Amendment retaliation is a suitable candidate for such relief. The material

 facts of this claim are uncontested, and the governing law is well-defined.

 Defendants have testified and provided documentary evidence showing that they

 terminated Plaintiff, in pertinent part, because he, as a private citizen, commented

 on a matter of public concern which was at the time hotly debated in Melvindale’s

 public discourse.

       During Plaintiff’s tenure as police chief, he sought to rein in the rogue

 behavior of a police officer, Matthew Furman, who nearly single-handedly brought

 in hundreds of thousands of dollars to the City each year via his towing activity.

 Ex. N, Amended Complaint for Plaintiff’s Removal at 11. This revenue was

 particularly significant to the City of Melvindale in 2015 and 2016, as the City was

 unsuccessfully executing a deficit elimination plan supervised by the State of

 Michigan’s. Ex. G, Barnes Dep. 16:23-7:15.

       In 2015 and 2016, Plaintiff attempted to address Furman’s behavioral

 deficiencies—including the selective enforcement of the traffic code, and violent

 acts of physical abuse against prisoners and suspects. Plaintiff eventually


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  suspended him in connection with allegations of excessive force. Ex. F, Hayse

  Dep. at 87:12-17; 91:24-92:18. Defendants disfavored Plaintiff’s attempts to

  discipline Furman because they benefited from the revenue accumulated from

  Furman’s thousands of tickets and tows. They needed to quickly terminate Plaintiff

  so that they could resume bringing in heightened revenue. Accordingly,

  Defendants falsely accused Plaintiff of various acts of wrongdoing. As will be fully

  briefed in Plaintiff’s forthcoming response to Defendants’ Motion for Summary

  Judgment, Defendants later testified that none of their allegations against Plaintiff

  were factually accurate, or constituted terminable offenses.

        Although it is widely held that “freedom of speech is not traded for an

  officer’s badge,” Biggs v. Village of Dupo, 892 F.2d 1298, 1303 (7th Cir. 1990) in

  this case, Defendants explicitly terminated Plaintiff for engaging in speech they

  recognize as being protected by the First Amendment. Ex. G, Barnes Dep. at

  139:11-140:7; 143:4-7. Defendants’ actions toward Plaintiff are reprehensible not

  only because they constitute a blatant violation of his First Amendment rights, but

  also because of their significant after-effects. Openly terminating a public

  employee for weighing in as a concerned citizen on a matter of public discourse

  undoubtedly communicates to the rest of the workforce that they must forgo their

  right to free speech to remain employed. This in turn deprives the public discourse

  of the opportunity to benefit from the well-informed opinions of public employees


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  on matters of public concern, which has an obviously and impermissibly

  deleterious impact on the entire democratic process. Plaintiff’s motion should be

  granted.

  II.   PLAINTIFF’S STATEMENT OF MATERIAL FACTS

             The City of Melvindale Considers a Controversial Central
                              Police Dispatch System

        Chapter 20, Section 5 of the Melvindale City Charter establishes the

  Melvindale Public Safety Commission (“PSC”). Ex. A, Melvindale City Charter at

  33. The Charter specifically separates the police department from the political

  branches of Melvindale’s government by stipulating that the PSC should be

  comprised of volunteers from the community who may not hold public office. Id.;

  see also Ex. B, Bolton Dep. 6:10-13; 133:25. The Charter provides that the PSC

  “shall possess and exercise fully all the powers and perform all the duties

  pertaining to the government, management, maintenance, and direction of the

  Police and Fire Departments of the City, and all the premises and property thereof,

  including all appointments to such forces.” Ex. A, Melvindale City Charter at 33.

        Chapter 20, Section 6 states that the PSC “shall appoint an individual as

  Chief of the Police Department and define the terms and conditions of such

  appointment.” Ex. A, Melvindale City Charter at 34. The Charter specifies that,

  when filling the position of Chief, the PSC should select the highest qualified

  individual from those officers who are most senior amongst the ranks. Id. If the
                                          3
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  PSC deems that none of the department’s highest ranked officers qualify to serve

  as Chief, it may fill the position from outside the department via a competitive

  application and selection process. Id. The Charter identifies the qualifications for

  the position as 15 years of service as a police officer, and “the ability to perform as

  chief and meet the qualifications established by the Commission of Public Safety.”

  Id. Political affiliation is explicitly not a qualification for the position of Police

  Chief.

           In July 2012, Plaintiff was appointed Police Chief, after 21 years as a patrol

  officer. In approximately March 2014, City officials, including Defendants began

  considering the possibility of consolidating Melvindale’s police dispatch function

  with those of other local municipalities’. Ex. C, Central Dispatch Correspondence.

  In 2016, the Mayor, along with several Defendants, renewed their efforts to move

  forward with central dispatch. Id.; Ex. D, Bazman Dep. 62:1-5. The proponents of

  moving to a “central dispatch” system touted it as a cost saving measure. However,

  the many vocal detractors of this plan were not convinced it could achieve cost

  savings in the long run, and believed it would result in a loss of service quality. Ex.

  E, Aug. 3, 2016 City Council Meeting at 8:6-12:25; 53:24-54:6; 58:4-61:1; 68:11-

  70:20; 79:3-83:14; 90:6-94:16; 95:9-101:24; 105:13-110:23; 112:14-20; 113:7-20;

  114:8-116:9 and Related Correspondence.




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                    Plaintiff’s June 8, 2016 Facebook Comment

        On June 8, 2016, Plaintiff used Facebook to engage in a conversation with

  fellow citizens using his personal Facebook account. It is uncontested that the June

  8, 2016 conversation took place within a closed group1 Plaintiff personally

  belonged to called, “Melvindale: It Takes a Village.” Ex. F, Hayse Dep. at 69:25-

  70-5; Ex. G, Barnes Dep. at 137:1-140-8; Ex. H, Coogan Dep. at 382:9-18; 383:6-

  21. Ex. I, Relevant Facebook Posts at 11. Multiple citizens were discussing the

  pros and cons of central dispatch within the closed group. Id. One citizen

  commented that it seemed to him that the Melvindale Police Department would

  “get the shaft” if the City moved to a central dispatch system. Id. Plaintiff

  responded by clarifying that his major concern was that “the one getting the shaft

  may be the taxpayers” if central dispatch came to pass—meaning that as an

  informed and concerned citizen, he did not believe the change would create a cost

  savings, or that Melvindale’s citizens would receive the same level of service

  quality under consolidated dispatch. Id.




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   Membership in a closed Facebook group may only be granted by the group’s
  moderators upon request.
                                             5
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             Plaintiff’s June 8, 2016 Comment Did Not Merit Discipline

        It is undisputed that the Defendant City had no social media use policy at the

  time Plaintiff made the June 8, 2016 post. Ex. J, John Allen Dep. 250:7-12.

  Additionally, Defendant City Council members have admitted under oath that

  Plaintiff’s assertion of his opinion on central dispatch was not a terminable offense,

  or even one that merited discipline within the meaning of the Police Department’s

  or City’s policies and rules.

        Defendant City Councilman Cybulski testified that Plaintiff was permitted to

  “discuss anything,” including his belief that central dispatch would not benefit the

  City. In fact, Cybulski testified that Plaintiff was permitted to disagree with other

  officials about the purported benefits of central dispatch, and express these

  opinions freely without being terminated. Ex. K, Cybulski Dep 51:10-18; 53:5-22.

  Similarly, Councilwoman Said Land testified that when Plaintiff spoke as a private

  individual, rather than in his official capacity, he had no obligation to avoid

  political or religious discussion. Ex. L, Said Land Dep. 29: 4-18; 91:9-92:13.

  Likewise, Councilman Densmore testified that the City had no authority to stop

  Plaintiff from posting his personal opinion on his private social media. Ex O,

  Densmore Dep. at 120:23-121:2.

        According to Councilman Louvet, as long as Plaintiff did not post his

  personal opinions on the City’s social media accounts, the City would have no


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  authority to discipline him for expressing those opinions. Ex. P, Louvet Dep. at

  13:16-14:9; 101:12-15; 101:24-102:2. Even Lawrence Coogan, the City’s attorney

  admitted that City employees, including police officers are allowed to post

  personal opinions on private social media pages. Ex. H, Coogan Dep. at 383:23-

  384:1. Notably, Defendant Nicole Barnes, Melvindale’s City Council President,

  and the co-author of the written charges which called for Plaintiff’s termination,

  admitted her belief that Plaintiff was within his First Amendment rights to make

  this post—affirming that it was not an action that merited discipline. Ex. G, Barnes

  Dep. at 139:11-140:7; 143:4-7. Barnes testified that members of the police

  department, including Plaintiff, are permitted to post their opinions about the topic

  of central dispatch publically. Id. at 138:2-9.

        Additionally, other members of the police department, including Matthew

  Furman and Patrick Easton also posted on the closed “Melvindale: It Takes a

  Village” Facebook group, without consequence. Ex. I, Relevant Facebook Posts at

  9, 18-19.




  Despite having been notified of Furman’s and Easton’s posts as well, Defendants

  neither noticed nor cared if they made social media posts about their concerns

  about central dispatch from their private Facebook accounts on the same closed
                                             7
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  group. Ex P, Louvet Dep. at 100:16-101:2; Ex. K, Cybulski Dep. at 54:22-55:16;

  Ex. O, Densmore Dep. at 119:9-13. The City’s lax attitude towards public

  discourse on social media is further demonstrated by the fact that Mayor Stacy

  Bazman also joined in the same conversation Plaintiff contributed to earlier, in

  order to voice her support of central dispatch.




  Ex. I, Relevant Facebook Posts at 12, 20-5. Defendants clearly singled Plaintiff out

  for termination without any legitimate, lawful basis.

          Defendants Propose to Terminate Plaintiff for his June 8, 2016
                                 Facebook Post

        Barnes testified that in late July 2016, she and the other City Council

  members “unanimously” agreed to terminate Plaintiff’s employment, in part,

  because of his June 8, 2016 Facebook post. Ex. G, Barnes Dep., 129:3-131:24.

  Thereafter, Defendants drafted a complaint dated August 3, 2016 proposing

  Plaintiff’s termination. Id. at 131:20-132:7; Ex. M, August 3, 2016 Complaint for

  Plaintiff’s Removal. The August 3, 2016 Complaint specifically proposed that

  Defendants terminate Plaintiff because of the June 8, 2016 Facebook post Id.

  Subsequently, Defendants drafted an amended complaint, dated August 17, 2016

  which also explicitly proposed that Plaintiff be terminated, in part, for making the
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  June 8, 2016 Facebook post. Ex. N, Amended Complaint for Plaintiff’s Removal at

  2-3.

         Notably, the Amended Complaint against Plaintiff seems calculated to make

  it appear as if Plaintiff posted his June 8, 2016 Facebook post on the official

  Melvindale Police Department page, when this is obviously and undisputedly not

  the case.




         In fact, Barnes admitted under oath that the Amended Complaint improperly

  characterizes Plaintiff’s June 8, 2016 post as one made on the official Melvindale

  Police Department Facebook page. Ex. G, Barnes Dep. at 132:20-133:11. The

  Defendant Council members testified that at the time they decided to fire Plaintiff


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  for making his June 8, 2016 comment, they did not know where Plaintiff had

  posted it. Ex. K, Cybulski Dep 50:12-22; 54:14-21; Ex. L, Said Land Dep. 101:2-

  12; 102:1-103:10; Ex. G, Barnes Dep. at 93:25-95:15; 137:1-9; Ex. O, Densmore

  Dep. at 120:3-11; Ex. P, Louvet Dep. at 98:5-24. Despite having been provided

  with Plaintiff’s post in its entirety weeks earlier, and having the ability to visit the

  post to ascertain its nature, Defendants never bothered to investigate further. Ex. I,

  Relevant Facebook Posts at 1; Ex. K, Cybulski Dep. at 49:19-50:4; Ex. O,

  Densmore Dep. at 113:23-114:3; Ex. L, Said Land Dep. at 105:10-16. They

  proceeded to terminate Plaintiff for making a comment from his personal account

  on a closed group, about a matter of public importance and concern.

            Plaintiff is Terminated, In Part, for Making the June 8, 2016 Post

        After pre-determining weeks earlier that Plaintiff was going to be removed

  from his position as Police Chief, the City held a two day-long sham “proceeding”

  regarding Plaintiff’s employment on August 29 and 30, 2016. At the end of the

  hearing, the Defendants unanimously voted to terminate Plaintiff’s employment

  with the City for the reasons stated in their August 17, 2016 Amended Complaint

  against Plaintiff. Ex. Q, August 29 and 30, 2016 City Council Meeting Minutes.




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  Defendants also admitted under oath that they fired Plaintiff, in part, for his June 8,

  2016 Facebook post. Ex. G, Barnes Dep. at 150:19-23; Ex. P, Louvet Dep. 93:17-

  23; -97:24-98:8; Ex. O, Densmore Dep. at 112:23-113:23.

  III.   LAW AND ARGUMENT

         A.    Standard of Review

         Summary judgment is appropriate, “if the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits, if any, show

  that there is no genuine issue as to any material fact, and that the moving party is

  entitled to judgment as a matter of law.” Bender v. Hecht’s Dep’t. Stores, 455 F.3d

  612, 619-20 (6th Cir. 2006) (quoting Fed. R. Civ. P. 56(c)). The question for the

  Court is whether the evidence presents sufficient disagreement to require

  submission to a jury, or whether the evidence is so one-sided that one party must

  prevail as a matter of law. Hirsch v. CSX Transp. Inc., 656 F.3d 359, 362 (6th Cir.

  2011). It is well-settled that the existence of a “mere scintilla of evidence”

  supporting a party’s position will not suffice. Rather, in order to go before a jury,

  the dispute must be both “genuine” and “material.” Anderson v. Liberty Lobby,

  Inc., 477 U.S. 242, 248 (1968).

         An issue of fact is “material,” if under the applicable substantive law, it

  might impact the outcome of the case. Likewise, an issue of fact is “genuine” if the

  record, taken as a whole, could lead a rational trier of fact to find for the non-


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  moving party. Id.; Anderson v. Antal, 191 F.3d 451 (6th Cir. 1999); Clark v.

  Walgreen Co., 424 Fed. App’x. 467, 471 (6th Cir. 2011).

        B.     Plaintiff was Retaliated Against for Exercising his First
               Amendment Right to Free Speech

        42 U.S.C. § 1983 creates a federal cause of action against any person who,

  acting under color of state law, deprives another of his federal rights. Conn v.

  Gabbert, 526 U.S. 286, 290 (1999). To state a prime facie case under § 1983, a

  plaintiff must allege that (1) the action occurred “under color of law,” and that (2)

  the action was a deprivation of a constitutional right or a federal statutory right. As

  set forth above, Plaintiff was terminated by official legislative action of the

  Melvindale City Council, in part, because he exercised his First Amendment right

  to free speech. Ex. Q, August 29 and 30, 2016 City Council Meeting Minutes;

  supra at 10. It is therefore undisputed that Defendants terminated Plaintiff under

  color of state law. It is also undisputed in this case that Defendants terminated

  Plaintiff, in part, because he stated that the move to central dispatch might

  negatively impact Melvindale’s citizens. Ex. N, Amended Complaint for Plaintiff’s

  Removal at 2-3.

        In order to prove that Plaintiff was retaliated against for exercising his First

  Amendment rights, he must show that: (1) he engaged in constitutionally protected

  conduct; (2) he suffered adverse action sufficient to deter person of ordinary

  firmness from engaging in such conduct; and (3) the adverse action he suffered
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  was motivated at least in part by Plaintiff’s protected conduct. Henderson v. City of

  Flint, No. CV 16-11648, 2017 WL 3412095, at *6 (E.D. Mich. Aug. 9, 2017).

               1.    Plaintiff’s June 8, 2016 Facebook Post was Protected Speech

        Whether a citizen engages in protected speech is a matter of law. Mayhew v.

  Town of Smyrna, Tennessee, 856 F.3d 456, 462 (6th Cir. 2017). When the citizen

  concerned is a public employee, the First Amendment protects his right to speak as

  a citizen on matters of public concern. Garcetti v. Ceballos, 547 U.S. 410, 417, 126

  S. Ct. 1951, 1957, 164 L. Ed. 2d 689 (2006). Public employees cannot invoke the

  First Amendment to protect speech made as an employee on matters of personal

  interest. Connick v. Myers, 461 U.S. 138, 146, 103 S. Ct. 1684, 1690, 75 L. Ed. 2d

  708 (1983). This standard is meant to protect the public’s strong interest in

  receiving the well-informed views of government employees engaged in civic

  discussion. Garcetti, 547 U.S. at 419.

        There is a three-part test to determine whether a public employee engaged in

  protected speech. First, the speech involved must be on a matter of public concern.

  Second, the speech must be made as a private citizen, rather than pursuant to the

  person’s official duties. Third, the individual’s interest as a citizen in speaking on

  the matter must outweigh the state’s interest as an employer in promoting

  efficiency of public services it performs through its employees. Handy-Clay v. City

  of Memphis, Tenn., 695 F.3d 531, 540 (6th Cir. 2012); Mayhew, 856 F.3d at 462.


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                      a.    Plaintiff’s Post was on a Matter of Public Concern

        It is well-settled that matters of public concern are those that may be “fairly

  characterize[d] ... as relating to any matter of political, social, or other concern to

  the community. ” Chappel v. Montgomery Cty. Fire Prot. Dist. No. 1, 131 F.3d

  564, 574 (6th Cir. 1997) (internal quotation marks omitted). The First Amendment

  is concerned not only with a speaker's interest in speaking, but also with the

  public's interest in receiving information. See Connick, 461 U.S. at 145, 149,

  103; Pickering v. Board of Educ. of Township High Sch. Dist. 205, 391 U.S. 563,

  571–72 (1968). “The core value of the Free Speech Clause of the First

  Amendment” is “[t]he public interest in having free and unhindered debate on

  matters of public importance.” Pickering, 391 U.S. at 573. This core value

  demands that “[public employees] be able to speak out freely on ... questions [of

  public concern] without fear of retaliat[ion].” Id. at 572. Chappel, 131 F.3d at 574.

        The record of this case provides ample evidence that the question of whether

  Melvindale would move to a consolidated police dispatch system was of great

  public interest in Melvindale at the time Plaintiff made the June 8, 2016 post. Due

  to the large public interest in the matter, the City Council discussed it at multiple

  public meetings, including those on June 1 and August 3, 2016. Ex. E, Aug. 3,

  2016 City Council Meeting at 8:6-12:25; 53:24-54:6; 58:4-61:1; 68:11-70:20;

  79:3-83:14; 90:6-94:16; 95:9-101:24; 105:13-110:23; 112:14-20; 113:7-20; 114:8-


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  116:9 and Related Correspondence. On August 3, 2016, numerous private citizens

  raised questions and concerns about the prospect of a central police dispatch

  system. Id. Similarly, concerned citizens raised questions about the efficacy of a

  consolidated dispatch system before the Council on June 1, 2016. Ex. R, June 1,

  2016 City Council Meeting at 14-15; 25-34; 54:11-61:25.

        There is also evidence that the City Council dedicated at least one

  “Workshop Meeting” to the topic of central dispatch, to allow for the vigorous

  public debate on the topic to continue. Ex. I, Relevant Facebook Posts. The City

  Council voted on the issue on June 15, 2015, and the resolution failed by a narrow

  margin. Ex. S, June 15, 2016 City Council Meeting Minutes at 4. The debate

  indeed continued, however, and on July 20, 2016, the City Council authorized its

  attorney to investigate legal issues involved in centralized dispatch. Ex. T, July 20,

  2016 City Council Meeting Minutes at 11:13-15:11. The pros and cons of moving

  to a central dispatch system were of great political concern in the Melvindale

  community in 2016.

        Plaintiff’s June 8, 2016 Facebook comment was on this matter of public

  concern. Immediately preceding Plaintiff’s comment, a citizen stated his belief that

  the Melvindale Police Department would “get the shaft” if the City moved to a

  central dispatch system. Plaintiff clarified his intent was to speak as a concerned

  citizen about (1) the level of service the citizens would receive under a central


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  dispatch system, and (2) various city officials’ untruthfulness as to whether central

  dispatch alone will save the city money. Ex. N, Amended Complaint for Plaintiff’s

  Removal at 2-3; supra at 5, 9.

        Plaintiff was not speaking about internal office politics, but rather addressed

  the potential impacts of pending legislation on the citizens of Melvindale, which

  were hotly contested matters of public discourse at the time. In this way, Plaintiff’s

  comment is analogous to the speech at issue in Thomas v. Whalen, 51 F.3d 1285,

  1290 (6th Cir. 1995), where the Court held that the debate over the propriety of

  pending legislation is obviously a matter of public concern.

        Moreover, Plaintiff’s comment relates to the merger of two municipalities’

  police dispatch systems, which threatened the existence of Melvindale’s police

  dispatch system. It is clear from the aforementioned vigorous public debate on this

  issue that the continued existence of Melvindale’s dispatch was important to the

  locality, because it provided public safety services to area residents. In Jackson v.

  Leighton, 168 F.3d 903, 910 (6th Cir. 1999), the Sixth Circuit considered that the

  quality, availability, and cost of health care services are among the most important

  and debated public issues. The very same can be said of public safety, particularly

  police and rescue, services. It is well-settled that the public is deeply concerned

  with how a police department is operated. McMurphy v. City of Flushing, 802 F.2d

  191, 196 (6th Cir.1986). Under the foregoing analyses, Plaintiff’s June 8, 2016


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  post was on a matter of public concern—namely, whether the citizens would

  receive high quality police dispatch services under central dispatch, and whether

  this change would actually save money or merely be an empty political gesture.

  See also Solomon v. Royal Oak Twp., 842 F.2d 862, 866 (6th Cir. 1988) (noting the

  central importance of the public’s interest in the integrity of those commissioned to

  enforce the law and the exposure of corrupt and wasteful government practices).

                     b.   It is Uncontested that Plaintiff Spoke as a Private
                          Citizen
        The question of whether a statement was spoken as a public employee or as

  a private citizen for First Amendment purposes is “a practical one,” which requires

  an inquiry into the employee’s duties. Garcetti, 547 U.S. at 424-5; Mayhew v.

  Town of Smyrna, Tennessee, 856 F.3d 456, 462 (6th Cir. 2017). The “critical

  question” involved in determining whether an individual has engaged in protected

  speech as a private citizen is whether the speech at issue is itself ordinarily within

  the scope of the employee’s duties, not whether it merely concerns those duties.

  Mayhew, 856 F.3d at 464. Speech is not transformed into employee—rather

  than citizen—speech merely because it concerns information acquired by virtue of

  the speaker’s public employment. Mayhew, 856 F.3d at 463. Accordingly, the

  Court should take into account the context and content of the speech, the impetus

  for the speech, the setting and audience, general subject matter, where the speech

  occurred, and the subject matter of the individual’s employment. Handy-Clay, 695


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  F.3d at 540; Mayhew, 856 F.3d at 464. Here, these factors incontrovertibly and

  undisputedly show that Plaintiff spoke as a private citizen, not in his official

  capacity as Chief of Police for the City of Melvindale.

        As set forth above, Plaintiff posted the comment from his private, individual

  Facebook account within a closed Melvindale citizens’ group that he belonged to

  as an individual. Ex. F, Hayse Dep. at 69:25-70-5; Ex. G, Barnes Dep. at 137:1-

  140-8; Ex. H, Coogan Dep. at 382:9-18; 383:6-21. Ex. I, Relevant Facebook Posts

  at 11. Plaintiff’s comment was not made for the general public, but instead directly

  responds to an immediately preceding comment by another concerned citizen.

  Indeed, Plaintiff’s comment never identified or implicated his position, duties, or

  employment in any way. In sum, the context of the comment shows that Plaintiff’s

  intent was to draw attention to how central dispatch might have impacted the

  taxpayers in their daily lives, not its impact on the police department and his own

  every day duties.

        Furthermore, the information Plaintiff used to make this statement was

  drawn from his attendance at public meetings, and from his own common sense

  and knowledge as a long-serving police officer. Plaintiff spoke as a well-informed

  private citizen, without invoking or otherwise implicating his authority or title, or

  making any reference to his daily duties or employment. Here, Plaintiff did not

  exploit his rank for the purpose of enhancing his credibility on the topic of central


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  dispatch—in fact, he did not reference his employment at all. Thomas, 51 F.3d at

  1291. He was clearly and undisputedly speaking as a private citizen.

                     c.    Plaintiff’s Comment had No Impact on the City or
                           Police Department

        The interest Plaintiff had as a citizen in high quality public safety services

  and holding government officials accountable for the City’s financial health

  outweighs the City’s interest as an employer in curtailing this speech. Rankin v.

  McPherson, 483 U.S. 378, 388-91 (1987). There is no evidence whatsoever in this

  case that Plaintiff’s June 8, 2016 comment had any impact on the police

  department’s performance of its duties and operations, ability to execute its

  mission, or departmental morale2 and efficiency.

        Furthermore, Defendants could have no legitimate interest in curtailing

  Plaintiff’s speech because his June 8, 2016 comment was not communicated to the

  public, but was directly in response to a dialogue between himself and another


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   To the extent Defendants point to the testimony of Officers Furman and Easton to
  allege that Plaintiff created a hostile work environment within the department,
  there is no evidence that this alleged disharmony meaningfully interfered with the
  department’s public operations—as would be required under the Pickering
  balancing standard. More importantly, there is no evidence that Plaintiff’s June 8,
  2016 comment caused this alleged hostile work environment, which is dispositive
  under the aforementioned legal standard. In fact, to the extent that the working
  environment in the police department did become difficult around the time of
  Plaintiff’s termination, the undisputed evidence in this case shows that this was
  because of the City’s attempts to hastily end Plaintiff’s employment on the basis of
  false pretenses—not because of his commentary on central dispatch. Ex. U,
  Kennaley Dep. at 143:17-144:10; 169:12-14.
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  citizen. Rankin, 483 U.S. at 388-91. Additionally, Plaintiff’s comment did not

  make use of the authority and public accountability of his role as a City

  employee—in fact, Plaintiff did not reference his employment at all. Id.

  Defendants had no legitimate interest in curtailing Plaintiff’s speech—let alone one

  that outweighed Plaintiff’s interest in speaking about his concern that the citizens

  of Melvindale receive high quality public safety services.

               2.    Plaintiff’s Termination was an Adverse Action

        It is widely held that a plaintiff alleging First Amendment retaliation need

  not show they were actually deterred from exercising his right to free speech. Ctr.

  for Bio–Ethical Reform, Inc. v. City of Springboro, 477 F.3d 807, 822 (6th

  Cir.2007); see also Ely v. Dearborn Heights Sch. Dist. No. 7, 150 F. Supp. 3d 842,

  853 (E.D. Mich. 2015), aff'd, 655 F. App'x 495 (6th Cir. 2016). An adverse

  employment action is one that would deter a person of ordinary firmness from

  exercising her speech rights. “[S]ince there is no justification for harassing people

  for exercising their constitutional rights [the effect on freedom of speech] need not

  be great in order to be actionable.” Bart v. Telford, 677 F.2d 622, 625 (7th

  Cir.1982) (approved by the Sixth Circuit in Thaddeus-X v. Blatter, 175 F.3d 378 (6th

  Cir. 1999)) (emphasis added). Requiring a showing of “adverse” action “is intended

  to weed out only inconsequential actions, and is not a means whereby solely




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  egregious retaliatory acts are allowed to proceed past summary judgment.”

  Thaddeus-X, 175 F.3d at 398.

        Both the Sixth Circuit and this Court have held that a termination

  “undeniably” constitutes an adverse action for the purpose of establishing a First

  Amendment Retaliation claim. Larry v. Powerski, 148 F. Supp. 3d 584, 600 (E.D.

  Mich. 2015); see also Bryson v. Regis Corp., 498 F.3d 561, 571 (6th Cir.2007).

        Defendants terminated Plaintiff from his employment with the City on

  August 30, 2016. Ex. Q, August 29 and 30, 2016 City Council Meeting Minutes.

  Under prevailing case law, Plaintiff’s termination is a sufficiently adverse action,

  which, as a matter of law would deter a person of ordinary firmness from engaging

  in speech. Haji v. Columbus City Schools, No. 12–3520, 621 Fed.Appx. 309, 313,

  2015 WL 4385280, at *4 (6th Cir. July 16, 2015) (where even a recommendation

  of termination was found to be sufficiently adverse under First Amendment

  Retaliation standard).

               3.    Evidence of Causation is Undisputed—Plaintiff’s
                     Termination was Based, in Part, on his June 8, 2016
                     Facebook Comment

        “An act taken in retaliation for the exercise of a constitutionally protected right

  is actionable even if the action would have been proper if taken for a different

  reason.” Hoover v. Radabaugh, 307 F.3d 460, 467 (6th Cir. 2002). Therefore, the

  Court’s role is to determine if protected speech was “a substantial or motivating


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  factor” in the adverse action; speech need not be the only factor. Hughes v. Region

  VII Area Agency on Aging, 542 F.3d 169, 180 (6th Cir.2008) (quoting Rodgers v.

  Banks, 344 F.3d 587, 596 (6th Cir.2003)) (emphasis added). “Put differently, a

  plaintiff satisfies the motivation element by showing that the adverse action ‘was

  motivated at least in part’ by the protected speech.” Miller v. City of Canton, 319 F.

  App'x 411, 419 (6th Cir. 2009) (emphasis added).

        In the First Amendment Retaliation context, the element of causation is a

  two part inquiry. First, the Court must determine whether the adverse action was

  proximately caused by Defendants, and second, whether Defendants were

  motivated by a desire to punish Plaintiff for the exercise of a constitutional right.

  Paterek, 801 F.3d at 646 (quoting King v. Zamiara, 680 F.3d 686, 695 (6th

  Cir.2012)). “The true object of this inquiry is to determine whether the plaintiff has

  been retaliated against as a direct result of his or her protected speech.” Larry v.

  Powerski, 148 F. Supp. 3d 584, 601 (E.D. Mich. 2015).

        Defendants explicitly and undisputedly terminated Plaintiff, in pertinent

  part, because of his June 8, 2016 Facebook comment. Accordingly, this case is

  analogous to that of Ely v. Dearborn Heights Sch. Dist. No. 7, 150 F. Supp. 3d 842,

  853–54 (E.D. Mich. 2015), aff'd, 655 F. App'x 495 (6th Cir. 2016), where the

  Court found there was sufficient causation because both written reprimands issued

  to the plaintiff “plainly stated that they were issued because of the plaintiff's


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  speech.” Id. (emphasis in original). The Court therefore held that these plain

  statements by the defendants were adequate evidence to show that the protected

  speech was the cause of the defendants’ adverse action against the plaintiff. Id.

        Likewise, in this case, both Defendants’ August 3, 2016 and August 17,

  2016 Complaints explicitly propose that Plaintiff be terminated, in part, because of

  his June 8, 2016 Facebook Comment. Ex. M, August 3, 2016 Complaint for

  Plaintiff’s Removal; Ex. N, Amended Complaint for Plaintiff’s Removal at 2-3.

  Under the analysis set forth in Ely, this evidence sufficiently proves causation

  between Plaintiff’s protected speech and Defendants’ termination of his

  employment.

        Moreover, Defendants testified under oath that they decided to vote in favor

  of Plaintiff’s termination because of his June 8, 2016 comment. Ex. G, Barnes

  Dep. at 150:19-23; Ex. K, Cybulski Dep. 118:21-119:1; Ex. L, Said Land Dep.

  17:2-24; 100:5-101:1; Ex. O, Densmore Dep. at 112:23-114:2; Ex. P, Louvet Dep.

  at 90:91:16; 97:18-98:8; Ex. X, Marsee Dep. 111:2-7; 117:23-118:9. As set forth

  fully in Plaintiff’s forthcoming Response to Defendants’ Motion for Summary

  Judgment, Defendants had no other legitimate, non-retaliatory reasons to terminate

  his employment with the City. See Haji, 621 F. App'x at 315. All of Defendants’

  reasons for terminating Plaintiff were mere shams designed to end his employment

  in violation of his Constitutional rights. Defendants fired Plaintiff because of his


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  June 8, 2016 Facebook comment, in violation of his First Amendment right to free

  speech.

        The combination of Defendants’ written allegations, which explicitly list

  Plaintiff’s June 8, 2016 comments as a reason for his termination, and Defendants’

  testimony, which reiterates the same, is direct, uncontested evidence of causation

  between Plaintiff’s First Amendment protected speech and his termination.

  Cameron v. Grainger County, 274 Fed. Appx. 437 (6th Cir. 2008) (where

  “equivocation at deposition” by Sheriff about whether he “might” have treated

  plaintiff-employee differently if not for her protected First Amendment

  association/speech of opposing candidate was direct evidence of retaliation).

               4.     Decisions by Defendants Create Liability for the City

        A governmental agency is liable under 42 U.S.C. § 1983 for the acts of its

  agents, if those acts represent the entity’s official “policy or custom.” Monell v.

  Dep’t Social Servs., 436 U.S. 658 (1978). A “policy or custom” may be made up of

  any “acts or edicts [that] may fairly be said to represent official policy.” Id. at 694.

  The “custom and policy” requirement can be met in the context of a single and

  isolated decision by an individual policymaker:

        If the decision to adopt [a] particular course of action is properly made
        by that government’s authorized decision makers, it surely represents an
        act of official government “policy” as that term is commonly
        understood.


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  Pembaur v. City of Cincinnati, 475 U.S. 469, 481 (1986).          The acts of authorized

  decision makers for a public entity concerning the action alleged to have caused the

  particular constitutional violation at issue are attributable to the entity. Jett v. Dallas

  Independent School Dist., 491 U.S. 701, 737 (1989). Here, it is undisputed that the

  City’s elected legislators, its City Council members, are the final decision-makers

  when it comes to matters of legislation and public policy. Ex. A, Melvindale City

  Charter at 16.

  IV.   CONCLUSION

        Because no genuine disputed issues of material fact exist with regard to

  Plaintiff’s claim of First Amendment retaliation, summary judgment is proper.

  Accordingly, for all the reasons set forth herein, Plaintiff requests that this

  Honorable Court grant Plaintiff’s Motion for Summary Judgment with regard to

  his First Amendment Retaliation claim.

  Dated: October 15, 2018                  DEBORAH GORDON LAW
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                          CERTIFICATE OF SERVICE

        I hereby certify that on October 15, 2018, I electronically filed with the
  foregoing document and Exhibits with the Clerk of the Court using the ECF system
  which will send notification of such filing to all counsel of record.

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